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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 MATTHEW SCHMITT, individually and on
 behalf of others similarly situated,

             Plaintiff,                              Civil Action No. 20-16240 (ZNQ) (RLS)

 v.                                                     NOTICE OF APPEAL TO THE
                                                     U.S. COURT OF APPEALS FOR THE
 NEWELL BRANDS INC. and GRACO                                THIRD CIRCUIT
 CHILDREN’S PRODUCTS INC.,

             Defendants.


         Notice is hereby given that Plaintiff Matthew Schmitt appeals to the United States Court

of Appeals for the Third Circuit from the Order and Opinion of the United States District Court,

District of New Jersey, entered in this action on March 28, 2023 (ECF Nos. 32 & 33).



Dated:       April 19, 2023                          DRESSEL/MALIKSCHMITT LLP

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